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   6
       JEFFREY A. WILLIAMS, #012605
       Assistant Federal Public Defender
   7   Attorney for Defendant
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   9
                       IN THE UNITED STATES DISTRICT COURT
  10
                          NORTHERN DISTRICT OF OKLAHOMA
  11
  12   United States of America,                          No. 22-CR-115-JFH
  13                Plaintiff,
  14        vs.                                       MOTION TO CONTINUE
                                                       SCHEDULING ORDER
  15   Johnny Wesley Boyd Sparks,
  16                Defendant                                (First Request)
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             The Defendant, Johnny Spark, by and through his counsel of record Jeffrey
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       A. Williams, Assistant Federal Defender, hereby moves this Court for an Order
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       extending all Scheduling Order deadlines for sixty (60) days, stating in support as
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       follows:
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             1.    The government does not object to this motion.
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             2.    This case is set on this Court’s January 17, 2023, trial docket. The
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  25
       Court has scheduled a Pre-Trial Conference for January 6, 2023.

  26         3.    Mr. Sparks requests the Court continue all Scheduling Order dates for
  27   sixty (60) days. This would place the case on this Court's March trial docket.
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   1           4.     Defense counsel for Mr. Sparks has received written discovery in this
   2   case.
   3           5.     The undersigned needs additional time to meet with Mr. Sparks and
   4   review the evidence with him, obtain additional disclosure from the government as
   5   may be determined necessary as the defense investigation proceeds, conduct further
   6   investigation and research regarding the allegations contained in the Indictment,
   7   and prepare adequately to defend the case at trial. Defense counsel's location
   8   outside the district, as well as the ongoing COVID-19 pandemic, impair defense
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       counsel's ability to accomplish these tasks as efficiently and effectively as would
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       otherwise be possible, and constitute additional grounds for the requested
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       continuance.
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               6.     Mr. Sparks is in custody.
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               7.     This Motion is made for the purposes of allowing the undersigned
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       counsel from the District of Arizona sufficient time to properly prepare a defense,
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       and for continuity of counsel for the Defendant. This Motion is not made for the
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  17
       purposes of delay.

  18           8. Counsel and Mr. Sparks are in the process of executing a signed Waiver

  19   of Speedy Trial, which will be filed with the Court when received.
  20           Excludable delay under 18 U.S.C. § 3161(h)(7)(B)(i) and (iv) may result
  21   from this motion or from an order based thereon.
  22           Respectfully submitted: December 16, 2022.
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                                         JON M. SANDS
  24                                     Federal Public Defender
  25
                                          s/Jeffrey A. Williams
  26                                     JEFFREY A. WILLIAMS
  27                                     Assistant Federal Public Defender
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